Case 15-40404      Doc 27     Filed 07/05/18 Entered 07/05/18 15:24:04     Desc Main
                                Document     Page 1 of 1




                    UNITED STATES BANKRUPTCY COURT
                   WESTERN DISTRICT OF NORTH CAROLINA
                             SHELBY DIVISION


 IN RE:                              )     CHAPTER 13
                                     )
 Timothy Eugene Cain                 )     CASE NO. 15-40404
                                     )
                                     )     NOTICE OF MAILING ADDRESS
                Debtor(s).           )     CHANGE OF DEBTOR(S)

 TAKE NOTICE that Debtor(s) have/has had a change in his/her/their mailing address.
 The correct mailing address is:

 213 Linwood Road
 Kings Mountain, NC 28086


 This the 5th day of July, 2018.




                                           By: __/s/ Geoffrey A. Planer______
                                               Geoffrey A. Planer
                                               Attorney for Debtor
                                               PO Box 1596
                                               Gastonia, NC 28053-1596
                                               704-864-0235
                                               704-864-3396 Fax
